Case 3:18-cv-00217-CRS-RSE Document 78 Filed 06/16/21 Page 1 of 1 PageID #: 743




                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY
                                         AT LOUISVILLE


 JESSE MURRAH                                                                                 PLAINTIFF



 vs.                                                                               NO. 3:18-CV-217-CRS


 TDY INDUSTRIES, LLC                                                                         DEFENDANT

                                                    ORDER

         Motion having been made and for the reasons set forth in the memorandum opinion

 entered herein this date and the court being otherwise sufficiently advised, IT IS HEREBY

 ORDERED AND ADJUDGED that

         1. Motion for summary judgment of Defendant TDY Industries, Inc., DN 73, is

                 GRANTED, and the action is DISMISSED WITH PREJUDICE. There being no

                 just reason for delay in its entry, this is a final and appealable order.



 IT IS SO ORDERED.

 June 15, 2021
